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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION
                   _____________________________________


STATE OF TEXAS, et al.,

      Plaintiffs,

v.

RISING EAGLE CAPITAL GROUP,                Civil Action No. 4:20-cv-02021
LLC, et al.,

      Defendants.


                    UNITED STATES OF AMERICA’S
                     NOTICE OF INTERVENTION


      Pursuant to Federal Rules of Civil Procedure 5.1(c) and 24(a)(1), and in

accordance with the authorization of the Solicitor General of the United States,
the United States of America hereby intervenes in this case to defend the con-

stitutionality of the Telephone Consumer Protection Act of 1991 (“TCPA”), 47

U.S.C. § 227. On January 7, 2021, several Defendants filed a motion to dismiss

the counts of the operative complaint that sought to enforce two provisions of

the TCPA, arguing that it would be unlawful to apply those provisions against

Defendants in light of a Supreme Court decision holding that an exception con-

tained in one of these provisions was unconstitutional. ECF No. 80.

      Federal Rule of Civil Procedure 5.1 provides for a procedure to notify the

United States when a federal statute is challenged as unconstitutional. See
Fed. R. Civ. P. 5.1(a)(1). Rule 5.1(c) allows the Attorney General to intervene


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within 60 days of the filing of an appropriate notice or the Court’s certification
of the constitutional challenge, “[u]nless the Court sets a later time.” No notice

was filed in this case pursuant to Rule 5.1. However, after the government

became aware of the constitutional questions presented in this case, the United
States filed an unopposed motion to be allowed until April 5, 2021 to determine

whether to intervene in this matter. ECF No. 91. The Court granted the gov-

ernment’s motion. ECF No. 94.

      The United States is entitled to intervene in this case pursuant to the

Federal Rules of Civil Procedure and relevant statute. Rule 5.1(c) permits the

Attorney General to intervene in an action where, as here, the constitutionality
of a federal statute is challenged. See Fed. R. Civ. P. 5.1(c). Rule 24 further

permits a non-party to intervene when the non-party “is given an uncondi-

tional right to intervene by a federal statute.” Fed. R. Civ. P. 24(a)(1). The

United States has an unconditional statutory right to intervene “[i]n any action

. . . wherein the constitutionality of an Act of Congress affecting the public

interest is drawn in question . . . .” 28 U.S.C. § 2403(a). In such an action, “the

court . . . shall permit the United States to intervene . . . for argument on the

question of constitutionality.” Id. Here, Defendants have “drawn in question”

the constitutionality of the TCPA, and the United States has an unconditional

right to intervene to defend the statute.

      For these reasons, the United States hereby provides notice of interven-

tion in this matter for the limited purpose of defending the constitutionality
of the TCPA. The United States will file its memorandum in defense of the

constitutionality of the TCPA this same day.


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DATED: April 5, 2021             BRIAN M. BOYNTON
                                 Acting Assistant Attorney General

                                 ERIC R. WOMACK
                                 Assistant Director, Federal Programs Branch

                                 /s/ Joshua C. Abbuhl___
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                       CERTIFICATE OF SERVICE

I hereby certify that on April 5, 2021, a copy of the foregoing document was
filed electronically via the Court’s ECF system, which sent notification of
such filing to counsel of record.

                                          /s/ Joshua C. Abbuhl______
                                          JOSHUA C. ABBUHL




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